              Case 5:21-cv-05400-EGS Document 37 Filed 09/30/22 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DANA JENNINGS and JOSEPH A.                          :
FURLONG, Individually and on Behalf of               :
All Others Similarly Situated,                       :
                                                     :
                                 Plaintiffs,         :           CIVIL ACTION NO. 21-5400
                                                     :
         v.                                          :
                                                     :
CARVANA LLC,                                         :
                                                     :
                                 Defendant.          :

                                                ORDER

         AND NOW, this 30th day of September, 2022, upon consideration of the defendant’s

Motion to Compel Arbitration and to Dismiss (Doc. No. 18), the plaintiff’s Response in Opposition

(Doc. No. 22), the defendant’s reply to the response (Doc. No. 24), and the plaintiff’s Sur-Reply

(Doc. No. 27), it is ORDERED as follows:

         1.       The defendant’s Motion to Compel Arbitration and to Dismiss (Doc. No. 18) is

DENIED;

         2.       The defendant shall file an answer to the complaint by no later than Friday,

October 21, 2022;

         3.       The court will hold an initial pretrial conference on Wednesday, November 23,

2022, at 10:00 a.m., at the Holmes Building, 101 Larry Holmes Drive, 4th Floor, Easton, PA

18042;

         4.       Prior to the initial pretrial conference, the parties should confer and prepare a joint

report pursuant to Federal Rule of Civil Procedure 26(f). This joint report should be e-mailed to

chambers no later than three days prior to the initial pretrial conference; and

         5.       The parties shall commence discovery immediately.
Case 5:21-cv-05400-EGS Document 37 Filed 09/30/22 Page 2 of 2




                                 BY THE COURT:



                                 /s/ Edward G. Smith____
                                 EDWARD G. SMITH, J.
